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Certificate of Registration

This Certificate issued under the seal of the Copyright
Office in accordance with title 17, United States Code,
2 attests that registration has been made for the work
9 identified below. The information on this certificate has
4 been made a part of the Copyright Office records.

United States Register of Copyrights and Director

Registration Number.

VA 2-367-866
Effective Date of Registration:
October 24, 2023

Registration Decision-Date:
October 25, 2023

Copyright Registration for a Group of Published Photographs
Registration issued pursuant to 37 C.F.R. § 202.4(i)

For Photographs Published:

Title

July 28, 2006 to July 28, 2006

. Title of Group:
Number of Photographs in Group:

e Individual Photographs:

Published:

Completion/Publication

Brooklyn The Bulldog
6

Brooklyn Smiles,
Brooklyn Mug,

Brooklyn Mean Mug,
Brooklyn Kitchen Snooze,
Brooklyn Sitting Pretty,
Brooklyn Takes a Nap
July 2006

Year of Completion:
Earliest Publication Date in Group:
Latest Publication Date in Group:

2006
July 28, 2006
July 28, 2006

Nation of First Publication: United States
Author
e Author: Laura Moss Heppolette
Author Created: photographs
Work made for hire: No
Citizen of:. United States
Domiciled in: United States
Year Born: —1975

Copyright Claimant

Copyright Claimant:

_Laura Moss Heppolette

Page 1 of 2
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1360 Peachtree Street NE, Suite 1201, Atlanta, GA, 30309, United States

_ Rights and Permissions.

Organization Name: Knight Palmer, LLC
Name: Laura Heppolette
Email: -lauramhepp @ gmail.com
Address: 1360 Peachtree Street NE
Suite 1201 aur eit peas eM ght
as GA- 30309 United Staten rate

Certification.

-Name: . Laura Moss Heppolette: -
Date: October 24, 2023

“Correspondence: — Yes
Copyright Office notes: Regarding title information: Deposit contains complete list of titles that
correspond to the individual photographs included in this group.

Regarding group registration: A group of published photographs may be
registered on one application with one filing fee only under limited
circumstances. ALL of the following are required: 1. All photographs (a) were
created by the same author AND (b) are owned by the same copyright claimant
AND (c) were published in the same calendar year AND 2. The group contains
750 photographs or less AND 3. A sequentially numbered list of photographs
containing the title, file name and month of publication for each photograph
included-in the group must be uploaded along with other required application
materials. The list must be submitted i in an approved document format such as .
XLS or .PDF. The file name for the numbered list must contain the title of the.
group-and the Case Number assigned tothe application. _

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